                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 INGE BERGE,
                       Plaintiff,
                                                          Civil Action No. 1:22-CV-10346
        v.
 SCHOOL COMMITTEE OF
 GLOUCESTER; BEN LUMMIS, in his                               NOTICE OF ERRATA
 personal capacity; ROBERTA A. EASON,
 in her personal capacity; and STEPHANIE
 DELISI, in her personal capacity,
                       Defendants.

       Plaintiff Inge Berge hereby gives notice that the attached Exhibit 1 is the exhibit referenced in

the Complaint (ECF No. 1), but it was unintentionally omitted from the uploaded filing.


       Dated: March 7, 2022                  Respectfully Submitted,

                                             /s/ Marc J. Randazza
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                                           Notice of Errata
